     Case 5:21-mc-80057-VKD Document 1-4 Filed 03/17/21 Page 1 of 13




 1 CAROLINE McINTYRE, SBN 159005
   cmcintyre@be-law.com
 2 JAIDEEP VENKATESAN, SBN 211386
   jvenkatesan@be-law.com
 3 BERGESON, LLP
   111 N. Market Street, Suite 600
 4 San Jose, CA 95113
   Telephone:    (408) 291-6200
 5 Facsimile:    (408) 297-6000

 6 Attorneys for Petitioners
   COALITION DEVELOPMENT LIMITED
 7

 8                         UNITED STATES DISTRICT COURT

 9                       NORTHERN DISTRICT OF CALIFORNIA

10                                SAN JOSE DIVISION

11 In re Application of                      Case No.
   COALITION DEVELOPMENT LIMITED,
12                                           [PROPOSED] ORDER GRANTING
                  Petitioners.               PETITION FOR AN ORDER
13                                           COMPELLING DISCOVERY IN AID OF
                                             FOREIGN JUDICIAL PROCEEDING
14                                           PURSUANT TO 28 U.S.C. SECTION 1782

15                                           (EXHIBIT A INCLUDED)

16

17

18

19

20

21

22

23

24

25

26

27

28
     [PROPOSED] ORDER GRANTING PETITION FOR AN ORDER COMPELLING DISCOVERY IN AID OF
              FOREIGN JUDICIAL PROCEEDING PURSUANT TO 28 U.S.C. SECTION 1782
                                         Case No.
      Case 5:21-mc-80057-VKD Document 1-4 Filed 03/17/21 Page 2 of 13




 1          A petition having been made by Coalition Development Limited (“Coalition”) for an Order

 2 pursuant to 28 U.S.C. section 1782, authorizing the issuance of the subpoena attached to this

 3 Order as Exhibit A (the “Subpoena”) directing Google LLC, a corporation with its principle place

 4 of business in the Northern District of California, to produce documents as indicated in the

 5 Subpoena or at such other time as may be ordered by this Court, and for good cause showing, the

 6 Court hereby authorizes the issuance of the Subpoena and orders that discovery conducted

 7 pursuant to the Subpoena shall be governed by the Federal Rules of Civil Procedure.

 8          IT IS FURTHER ORDERED that Google LLC, shall preserve all evidence relating to the

 9 following Gmail accounts: bangkok20190101@gmail.com; bangkokmc2012@gmail.com;

10 brock60708090@gmail.com and jc60708090@gmail.com (the “Gmail Accounts”) and all

11 evidence relating to Google applications and accounts associated with the Gmail addresses

12 associated with the Gmail Accounts (the “Google Accounts”). This preservation order shall

13 extend to include all data and information described in Attachment A to the Subpoena and all

14 content (emails or otherwise) in the Gmail Accounts and the Google Accounts, including deleted

15 emails or other documents that are being retained by Google.

16          IT IS FURTHER ORDERED that:

17          (1)    Coalition shall serve copies of the Subpoena, this Order, the Petition, the

18 Memorandum of Law upon which it was issued, and the Declarations of Hugo Plowman and

19 Vivek Saxena upon Google within five (5) calendar days.

20          (2)    Within 5 calendar days of service of the Subpoena and this Order, Google shall

21 notify each of the account holders and account users of the Gmail Accounts and Google Accounts

22 that the requested information is sought by Coalition, and shall serve a copy of the Order on each

23 such person.

24          (3)    Google and/or any person whose information is sought may, within 14 days from

25 the date of the notice, file a motion in this Court contesting the subpoena (including a motion to

26 quash or modify the subpoena)

27          (4)    Alternatively, any person whose identifying information is sought may, within 14

28 days from the date of the notice, advise Google in1 writing of any objections he or she has to the
       [PROPOSED] ORDER GRANTING PETITION FOR AN ORDER COMPELLING DISCOVERY IN AID OF
                FOREIGN JUDICIAL PROCEEDING PURSUANT TO 28 U.S.C. SECTION 1782
                                           Case No.
      Case 5:21-mc-80057-VKD Document 1-4 Filed 03/17/21 Page 3 of 13




 1 disclosure of the information and the bases for any such objections. Within 5 days of receipt of

 2 any such objections, Google shall so advise the Court.

 3          (5)    If any person contests the subpoena or objects to any portion of it, Google shall

 4 preserve, but not disclose, the information sought by the subpoena pending resolution of that

 5 contest or objection.

 6          (6)    Any information Coalition obtains pursuant to the Subpoena may be used only for

 7 purposes of the anticipated actions before a UK or India tribunal, or as required by the laws of the

 8 UK and/or India with regards to disclosure, and Coalition may not otherwise release such

 9 information or use it for any other purpose absent a Court order authorizing such release or use.

10

11

12                                        _______________________________________
                                          UNITED STATES DISTRICT COURT JUDGE
13                                        NORTHERN DISTRICT OF CALIFORNIA
14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                     2
       [PROPOSED] ORDER GRANTING PETITION FOR AN ORDER COMPELLING DISCOVERY IN AID OF
                FOREIGN JUDICIAL PROCEEDING PURSUANT TO 28 U.S.C. SECTION 1782
                                           Case No.
Case 5:21-mc-80057-VKD Document 1-4 Filed 03/17/21 Page 4 of 13




 EXHIBIT A
                         TO
  [PROPOSED] ORDER GRANTING
     PETITION FOR AN ORDER
COMPELLING DISCOVERY IN AID OF
 FOREIGN JUDICIAL PROCEEDING
PURSUANT TO 28 U.S.C. SECTION 1782
                     Case 5:21-mc-80057-VKD Document 1-4 Filed 03/17/21 Page 5 of 13
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                       __________ District of __________
Coalition Development Limited, et al.
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No.
                                                                              )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: Google LLC, 1600 Amphitheatre Parkway Mountain View, CA 94043

                                                       (Name of person to whom this subpoena is directed)

    ’x Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: See Attachment A.



 Place:                                                                                 Date and Time:
          Bergeson, LLP
          111 N. Market St., Ste. 600, San Jose, CA 95113

     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:

                                  CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
                                                                        , who issues or requests this subpoena, are:


                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
                     Case 5:21-mc-80057-VKD Document 1-4 Filed 03/17/21 Page 6 of 13
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
                      Case 5:21-mc-80057-VKD Document 1-4 Filed 03/17/21 Page 7 of 13
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
        Case 5:21-mc-80057-VKD Document 1-4 Filed 03/17/21 Page 8 of 13




                                          SCHEDULE A

                                         DEFINITIONS

       1.      The term “DOCUMENT” is used in the broadest possible sense and means,

without limitation, any written, printed, typed, photocopied, photographed, recorded or otherwise

reproduced or stored communication or representation, whether comprised of letters, words,

numbers, data, pictures, sounds or symbols, or any combination or back up copy thereof.

“Document” includes, but is not limited to, correspondence, memoranda, notes, records, letters,

envelopes, telegrams, messages, studies, analyses, contracts, agreements, working papers,

accounts, analytical records, reports and/or summaries or investigations, trade letters, press

releases, comparisons, books, calendars, diaries, articles, magazines, newspapers, booklets,

brochures, pamphlets, circulars, bulletins, notices, drawings, diagrams, instructions, notes of

minutes of meetings or communications, electronic mail/messages and/or “email,” electronically

stored telephone messages and/or “voice-mail,” questionnaires, surveys, charts, graphs,

photographs, phonograph recordings, films, tapes, disks, data cells, meta-data, file properties and

related IP details, print-outs of information stored or maintained by electronic data processing or

word processing equipment, all other data compilations from which information can be obtained

(by translation, if necessary, by you through detection devices into usable form), including,

without limitation, electromagnetically sensitive storage media such as database servers, floppy

disks, hard drives and magnetic tapes, and any preliminary versions, as well as drafts or revisions

of any of the foregoing, whether produced or authored by you or anyone else.

        2.     The term “GOOGLE ACCOUNTS” refers to ANY Google account (including but

not limited to Gmail, Google Docs, Google Drive, Google Sheets, Google Calendar, and Google

Slides) associated with the following email addresses: bangkok20190101@gmail.com;

bangkokmc2012@gmail.com; brock60708090@gmail.com; and jc60708090@gmail.com.




                                                 1
        Case 5:21-mc-80057-VKD Document 1-4 Filed 03/17/21 Page 9 of 13




                                         INSTRUCTIONS

       1.      Whenever necessary to bring within the scope of this Request any document that

otherwise might be construed to be outside its scope: (a) the use of a verb in any tense shall be

construed as the use of that verb in all other tenses; (b) the use of the singular shall be construed

as the use of the plural and vice-versa; and (c) the masculine includes the feminine and the

feminine includes the masculine.

       2.      “And” and “or” shall be construed either disjunctively or conjunctively as

necessary to bring within the scope of the discovery request all responses that might otherwise be

construed to be outside its scope.

       3.      When responding to this Request, provide any and all information in your

possession, custody, or control, regardless of whether this information is in your personal

possession, or is possessed by your trustees, agents, servants, employees, attorneys, accountants,

independent contractors, representatives, or others with whom you have a relationship and from

whom you are able to derive information, documents, or materials. “Control” is used in its

broadest possible sense and means “possession, custody, or control.” A document shall be

deemed within a person’s control if he, she or it has the right or ability to obtain the document

(or a copy thereof) from another person or entity having possession, custody, or control thereof.

A document shall also be deemed in a person’s control if he, she, or it can reasonably obtain

access to such document. Documents in the possession of corporate parents or direct or indirect

affiliates shall be deemed in your control if the corporate parents or direct or indirect affiliates

have ever responded to a request for information from you in the past (and, without limitation,

Google's data held in data centers in the U.S. and in Ireland shall be considered to be within the

control of Google LLC). You must search both hard-copy documents and electronically-stored

data, including e-mails, documents, presentations, spreadsheets, and all other documents,

information, or data stored in electronic form including meta-data, file properties and related IP

details. Sources of such data include, but are not limited to, the following:




                                                   2
          Case 5:21-mc-80057-VKD Document 1-4 Filed 03/17/21 Page 10 of 13




                 (a)     Desktop personal computers (“PCs”) and workstations; minicomputers

                         and mainframes used as file servers, application servers, or mail servers;

                         laptops, notebooks, and other portable computers, whether assigned to

                         individuals or in pools of computers available for shared use; and home

                         computers used for work-related purposes;

                 (b)     Backup disks and tapes, archive disks and tapes, and other forms of offline

                         storage, whether stored onsite with the computer used to generate them,

                         stored offsite in another facility, or stored offsite by a third-party, such as

                         in a disaster recovery center; and

                 (c)     Computers and related offline storage used by agents, consultants, and

                         other persons as defined herein.

          Produce electronically stored documents, information, or data in an accessible electronic

format.

          4.     If any individual request is not completely fulfilled, state the precise reason for

failing to produce documents in complete fulfillment of the request. If a legal objection is made

with respect to any request, set forth the specific basis for such objection. If only a portion of a

request cannot or will not be fulfilled, provide the fullest possible production in response to the

request and thereafter specifically set forth: (a) the fact that the production is incomplete; and

(b) the reason or grounds for any omissions or refusal to fulfill the production.

          5.     If there are no documents responsive to any individual request, so state in writing.

          6.     With respect to each document called for by this Request and withheld under a

claim of privilege or otherwise, state separately, and in accordance with Fed. R. Civ. P. 26(b)(5),

for each document withheld:

                 (a)     the nature of the privilege or immunity that is being claimed;

                 (b)     the type of document;

                 (c)     the date the document bears;

                 (d)     the general subject matter of the document;


                                                    3
       Case 5:21-mc-80057-VKD Document 1-4 Filed 03/17/21 Page 11 of 13




               (e)     the author(s) of the document;

               (f)     the addressee(s) and/or recipient(s) of the document;

               (g)     where not apparent, the relationship of the author(s) and addressee(s) or

                       recipient(s) to each other; and

               (h)     each and every fact or basis upon which you claim any such privilege.

       If a portion of a document contains information subject to a claim of privilege, only that

portion shall be redacted and the remainder shall be produced.

       7.      If any document responsive to this Request has been, but is no longer, in your

possession, custody, or control because it has been destroyed, discarded, or placed outside of

your custody or control, furnish a list specifying each such document and setting forth the

following information: (a) the type of document; (b) the general subject matter of the document;

(c) the date of the document; (d) the name(s) and address(es) of each person who prepared,

received, viewed, and has or has had possession, custody or control of the document, (e) the date

on which the responsive document was destroyed, discarded, or placed outside of your custody

or control, and (f) the identity of the person(s) or other information identifying the person(s) who

caused such responsive document to be destroyed, discarded, or placed outside of your custody

or control on the said date.

       8.      Each document requested herein must be produced in its entirety and without

deletion, abbreviation, redaction, expurgation, or excisions, regardless of whether you consider

the entire document to be relevant or responsive to this Request. If you have redacted any

portion of a document on grounds of privilege, stamp the word “redacted” on each page of the

document which you have redacted. Privileged redactions must be included in a privilege log.

       9.      The Court has ordered the service of this subpoena in its present form. In any

event, if you object to any part of a request, then set forth the basis for your objection and

respond to all parts of the request to which you do not object. Any ground not stated in an

objection within the time provided by the Federal Rules of Civil Procedure, or any extensions

thereof, shall be waived. All objections must be made with particularity and must set forth all


                                                  4
       Case 5:21-mc-80057-VKD Document 1-4 Filed 03/17/21 Page 12 of 13




the information upon which you intend to rely in response to any motion to compel. All

objections must state with particularity whether and in what manner the objection is being relied

upon as a basis for limiting the scope of any search for documents. All objections must state

with particularity whether and in what manner the objection is being used as a basis for

withholding any responsive document.

       10.     When a request seeks production of “all DOCUMENTS” of a particular type, you

must produce each and every responsive document, including any copies of documents that may

exist. However, if you choose, you may elect not to produce multiple copies of identical copies

so long as you provide a source log identifying in whose files each withheld copy was found.

       11.     Documents not otherwise responsive to a request shall be produced if such

documents mention, discuss, refer to, or explain documents which are called for by this Request.

       12.     This Request is made without prejudice to, or waiver of, Petitioner’s rights to

conduct further discovery.

       13.     To the extent that any request seeks documents uploaded to, transmitted to, or

transmitted from a GOOGLE ACCOUNT, said documents shall encompass the time from the

time such account was registered to the present.

       14.     You are further instructed to preserve all data, including emails, located in the

GOOGLE ACCOUNTS, including data located on any backup servers or tapes.

                                           REQUESTS

       1.      DOCUMENTS sufficient to identify each GOOGLE ACCOUNT associated with

the email addresses bangkok20190101@gmail.com; bangkokmc2012@gmail.com;

brock60708090@gmail.com; and jc60708090@gmail.com.

       2.      DOCUMENTS sufficient to identify the user(s) of the GOOGLE ACCOUNTS

including without limitation the names, addresses (including postal codes), email addresses

(including email addresses used for recovery or other purposes), and telephone numbers.

       3.      All DOCUMENTS showing subscriber registration information of the GOOGLE

ACCOUNTS, including without limitation the names, addresses (including postal codes), email


                                                   5
       Case 5:21-mc-80057-VKD Document 1-4 Filed 03/17/21 Page 13 of 13




addresses (including email addresses used for recovery or other purposes), and telephone

numbers.

       4.     DOCUMENTS sufficient to show each instance that any of the GOOGLE

ACCOUNTS were accessed, including the IP addresses used to access the GOOGLE

ACCOUNT and the type, time, and date of each access, from the time the GOOGLE

ACCOUNTS were registered through the present.

       5.     DOCUMENTS sufficient to show the dates on which any DOCUMENTS,

including but not limited to emails, deleted by a user of a GOOGLE ACCOUNT.

       6.     All DOCUMENTS requested in categories 1-4 above and all DOCUMENTS and

other data, including but not limited to emails, contained within the GOOGLE ACCOUNTS

shall hereby be preserved.




                                               6
